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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-CR-132 (26)

 v.                                                         HON. ROBERT HOLMES BELL

 ROBERTO REESE,

             Defendant.
 ____________________________________/


                            MEMORANDUM OPINION AND ORDER

        Defendant Roberto Reese has filed a motion for modification or reduction of sentence (ECF

 No. 1409) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

 Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        The Probation Department filed a Sentence Modification Report (ECF No. 1637) on

 February 18, 2016, recommending a reduction of sentence to 105 months. Defendant’s counsel filed

 a response to the Sentence Modification Report (ECF No. 1654) on March 10, 2016, concurring with

 the Probation Department’s assessment. The government filed a response to the Sentence
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 Modification Report (ECF No. 1662) on March 29, 2016, objecting to the Sentence Modification

 Report that Defendant Reese is eligible for consideration of a sentence modification, in that his

 amended guideline range is 140 to 175 months in prison (after including the 2 level downward

 departure for substantial assistance), and therefore, Mr. Reese’s sentence of 117 months in prison

 is already below the amended guideline range. The government further argues that the Probation

 Department recommends a reduction in sentence to 105 months in prison which takes into account

 the two level downward departure for the 5K1.1 motion but also erroneously factors in the 3 level

 variance. Defendant’s counsel filed a reply to the government’s response (ECF No. 1663) on April

 5, 2016, arguing Defendant is eligible for a sentence reduction due to the fact the variance granted

 at sentencing was based on Mr. Reese’s substantial assistance.

        The Court finds it is within its discretion to grant or deny an Amendment 782 motion. The

 Court having carefully reviewed the Sentence Modification Report and counsels’ responses, will

 deny Defendant’s request for a sentence reduction based on Amendment 782.

        IT IS HEREBY ORDERED that Defendant's motion for modification of sentence (ECF No.

 1409) pursuant to 18 U.S.C. § 3582(c)(2) is respectfully DENIED.




 Dated: May 4, 2016                               /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE
